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             TRISTYN M. AHART, LEGAL ASSISTANT

                               Monday, July 09, 2018
 Honorable David E. Peebles, Magistrate Judge
 United States District Court
 Northern District of New York




    Reference: Sarah Crews v. City of Ithaca and John R. Barber, Chief of Police
                   NDNY Index No. 3:17-cv-00213 (MAD/DEP)
                           Request for Adjournment

Dear Magistrate Judge Peebles:
       I respectfully request a one-week adjournment of the telephone conference set for
July 12, 2018 at 3:00 p.m. I am currently in the hospital and will be unavailable for the
conference as scheduled. Please let me know the Court’s pleasure.
       Thank you.



Respectfully Submitted,



Edward E. Kopko
EEK/tma

cc:
 Earl Redding, Esq., via ECF
 Kevin Levine, Esq., via ECF
 Sarah Crews, via email
